        Case 5:25-cr-00277-JKP          Document 28         Filed 05/21/25          Page 1 of 3
                                                                                               FILED
                                                                                           May 21, 2025


                                                                                      CLERK, U.S. DISTRICT COURT
                            UNITED STATES DISTRICT COURT                              WESTERN DISTRICT OF TEXAS
                             WESTERN DISTRICT OF TEXAS                                    By:        RR
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                                SaNA Nt
                                    An On
                                      ToNiIoO DIVISION                                                     Deputy


                                                                    Case No:            SA:25-CR-00277-JKP
 UNITED STATES OF AMERICA
        Plaintiff,

                 v.
                                                       INDICTMENT
 (1) ALBERT      JOSEPH    DELGADO      II

  2 HECTOR       FUENTEZ    JR.
                                                       Conspiracy      to   Traffic Firearms
        Defendants.

                                                        Possession     of a Machinegun




                                             COUNT ONE
                                  [18 U.S.C. § 933(a)(2) & (3)]


       On or about April 1, 2025, to on or about May 1, 2025, in the Western District of Texas,

   defendants,


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                                                         Ez, Z J




and others, did conspire to transfer at least one firearm, from another person in or otherwise


affecting interstate or foreign commerce, knowing or having reasonable cause to believe that such


receipt would constitute a felony, to wit: possession of a machinegun, possession of a stolen


firearm, and smuggling goods from the United States, in violation of Title 18, United States Code,


Section 933(a)(2) & (3).




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         Case 5:25-cr-00277-JKP          Document 28         Filed 05/21/25      Page 2 of 3




                                           COUNT TWO
                                         [18 U.S.C. § 922(o)]




                                                                                         Defendant,

                               (1) ALBERT JOSEPH DELGADO II,

did knowingly possess a did knowingly possess a machinegun, namely, a machinegun conversion

device, commonly referred to as a “glock switch”, “switch” or “auto sear”, which is designed and

intended solely and exclusively for use in converting a semi-automatic weapon into a weapon that

can be fired as a fully automatic weapon by a single function of the trigger, as defined by Title 26,

USC Section 5845(b), all in violation of 18 USC 922(o) and 924(a)(2).


    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                     [See Fed. R. Crim. P. 32.2]


                                                   I.
                             Firearm Violation and Forfeiture Statutes
[Title 18 U.S.C. § 933(a)(2), and (3), subject to forfeiture pursuant to Title 18 U.S.C. §
934(a)(1)(A) and (B)]


         As a result of the criminal violation set forth in Count One, the United States of America


gives notice to the Defendants of its intent to seek the forfeiture of the certain property upon


conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which


state:

         Title 18 U.S.C. § 934. Forfeiture and Fines.
         (a) Forfeiture. -­
             (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
            to the United States, irrespective of any provision of State law--
                  (A) any property constituting, or derived from, any proceeds the person obtained,
                  directly or indirectly, as the result of such violation; and
                  (B) any of the person's property used, or intended to be used, in any manner or part,
                  to commit, or to facilitate the commission of, such violation . . .

                                                  II.

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        Case 5:25-cr-00277-JKP          Document 28         Filed 05/21/25       Page 3 of 3




                         Firearm Violations and Forfeiture Statutes
           [Title 18 U.S.C. §§ 922(o), and 933(a)(2), and (3) subject to forfeiture
       pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts One through Three, the United

States of America gives notice to the Defendants of its intent to seek the forfeiture of certain

property upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1),

made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of subsection . . . (o)…of section 922 . . . or 933 . . . shall be subject to seizure
           and forfeiture . . . under the provisions of this chapter......




       MARGARET F. LEACHMAN
       ACTING UNITED STATES ATTORNEY


BY:
       FOR Zachary W. Parsons
       Assistant United States Attorney




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